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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                          ROME DIVISION

JARROD JOHNSON individually,                 )
and on Behalf of a Class of persons          )
similarly Situated,                          )
                                             )
                   Plaintiff,                )
                                                 Civil Action No. 4:20-cv-00008-
                                             )
      v.                                         AT
                                             )
                                             )
3M COMPANY, et al.,                          )
                   Defendants.               )
                                             )

PLAINTIFF’S RESPONSE TO DEFENDANT IMACC CORPORATION’S
  JOINDER IN THE CARPET MANUFACTURING DEFENDANTS’
MOTION TO DISMISS PLAINTIFF’S SECOND AMENDED COMPLAINT

      Plaintiff submits this Response to Defendant IMACC Corporation

(“IMACC”)’s Joinder in the Carpet Manufacturing Defendants’ Motion to Dismiss

Plaintiff’s Second Amended Complaint. (Doc. 352). For the reasons set out in

Plaintiff’s response to the Carpet Manufacturing Defendants’ motion to dismiss,

summarized below, IMACC’s motion should be denied.

                      BRIEF FACTUAL BACKGROUND

      Defendant IMACC is the owner and operator of an industrial plastic

recycling and reconditioning facility in Dalton, Georgia. (Doc. 282, ¶¶ 4, 35).

From its facility, IMACC has discharged industrial wastewater containing per- and


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polyfluoroalkyl substances (“PFAS”) into the publicly owned treatment works

(“POTW”) operated by Defendant Dalton Utilities,1 including several water

pollution control plants (“WCPCs”) and the Riverbend Land Application System

(“LAS”). (Doc. 282, ¶¶ 4, 35, 82-83). Following treatment at its WCPCs, Dalton

Utilities applies the treated wastewater onto the LAS, which borders and is

hydrologically connected to the Conasauga River. (Id. at ¶¶ 4, 82-84).

       IMACC’s industrial wastewater contains PFAS, which are not authorized by

any industrial discharge permit. (Id. at ¶ 4, 35, 87). IMACC is aware that PFAS are

toxic to human health and are persistent chemicals that resist degradation at Dalton

Utilities WCPCs and the LAS. (Id. at ¶ 52, 66, 78, 86). Dangerously high levels of

PFAS thus inevitably flow through the LAS into the Conasauga River, travel

downstream, and contaminate the Oostanaula River—the source of the City of

Rome’s domestic water supply. (Id. at ¶ 86-102).

       The City of Rome implemented an emergency filtration process and other

measures to respond to the PFAS pollution, but these measures cannot adequately

remove all of IMACC’s and other Defendants’ PFAS from the water supply. (Id. at

¶¶ 97-100). To fund these measures and implement a permanent solution, the



1
 Identified in the Second Amended Complaint as the City of Dalton, Georgia, acting through its
Board of Water, Light and Sinking Fund Commissioners d/b/a Dalton Utilities. (Doc. 282, ¶ 26).
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Rome Water and Sewer Division (“RWSD”) and Floyd County Water Department

(“FCWD”) have imposed surcharges upon all water subscribers. (Id. at ¶ 99). Thus,

while the City’s efforts have lowered PFAS levels below the EPA’s advisory

limits, those levels result from filtration of their PFAS at Plaintiff’s and other water

subscribers’ expense. (Id.). Furthermore, EPA’s health advisory level is now

considered too high by the federal Agency for Toxic Substances and Disease

Registry (“ATSDR”), by many states, and many experts, and the City’s efforts to

date will not be sufficient to protect Plaintiff and the putative class of Rome water

users. (Id. at ¶¶ 62-64).

      IMACC’s discharges of PFAS have thus exposed Plaintiff and downstream

water users to foreseeable harm and violate the federal Clean Water Act (“CWA”),

Dalton Utilities Sewer Use Rules and Regulations, and the Georgia Water Quality

Control Act (“GWQCA”). (Id. at ¶¶ 155-159). The PFAS contamination also

constitutes a public nuisance that affects Plaintiff and the putative class of Rome

water subscribers in ways different in kind to its effects on the general public. (Id.

at ¶¶ 170-178).

      Based on the foregoing, Plaintiff and the putative class seek to obtain

injunctive relief and abate the PFAS contamination; recover compensatory and

special damages for charges incurred to pay to filter IMACC’s and other

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Defendants’ PFAS from the domestic water supply and the water they purchase;

recover punitive damages based on Defendants’ willful, wanton, and reckless

conduct; and recover all relief otherwise available.

                                   ARGUMENT

I.    Plaintiff has stated actionable claims for relief in his Second Amended
      Complaint.

      IMACC joins the motion to dismiss filed by the Carpet Manufacturing

Defendants. (Doc. 352). Plaintiff incorporates by reference his prior briefing

addressing each of these arguments, (Docs. 391, 392), and as briefly summarized

below, Defendants’ and IMACC’s arguments are without merit.

      A.     Plaintiff’s tort claims are not barred by the economic loss rule.

      As set out in response to the Carpet Manufacturing Defendants and 3M

Company, (Docs. 392, at 6-17; 391, at 20-22), the economic loss rule is

inapplicable to this case because (1) the independent duty exception applies, see,

e.g., In re Arby’s Group Inc. Litig., 2018 WL 2128441 (N.D. Ga. March 5, 2018);

(2) Plaintiff’s economic losses arise from damage to property, see General Elec.

Co. v. Lowe’s Home Centers, Inc., 608 S.E.2d 636 (Ga. 2005); Reynolds v. State,

115 S.E.2d 214, 217 (Ga. App. 1960); and (3) the rule cannot preclude Plaintiff’s

special damages recoverable for his nuisance claim. O.C.G.A. § 41-1-3.



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      B.     Plaintiff states actionable claims that IMACC breached its duty to
             ensure its PFAS discharges did not contaminate Plaintiff’s water
             supply.

      As set out in Plaintiff’s Response in Opposition to the Carpet Manufacturing

Defendants’ and 3M Company’s motions to dismiss, (Docs. 392, at 10-13, 17-23;

391, at 6-12), Plaintiff has alleged that Defendants, including IMACC, owed him a

duty to ensure that its industrial wastewater discharges containing PFAS did not

contaminate his water supply with these toxic chemicals, and that Defendants,

including IMACC, breached these duties. (Docs. 391, at 9-12, 17; 392, at 10-13).

See O.C.G.A. § 51-1-2; Ellington v. Tolar Constr. Co., 227 S.E.2d 336, 339 (Ga.

1976); Sims v. Am. Cas. Co., 206 S.E.2d 121, 127 (Ga. App. 1974), aff’d 209

S.E.2d 61 (Ga. 1974); Hodges v. Putzel Elec. Contractors, 580 S.E.2d 243, 247

(Ga. App. 2003).

      C.     Plaintiff states a claim for negligence per se.

      As set out in his response to the Carpet Manufacturing Defendants’ motion

(Doc. 392, at 23-30), Plaintiff states actionable claims for negligence per se based

on mandatory and ascertainable duties under the federal CWA and the GWQCA,

which are applicable to IMACC’s discharges of industrial wastewater containing

PFAS into the Dalton POTW. (Id. at 22-26). As a consumer of downstream water,

Plaintiff undoubtedly falls within the class of persons these statutes were intended

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to protect, and the pollution of surface waters and Plaintiff’s water supply is

plainly the type of harm these statutory schemes were intended to prevent. (Id. at

26-30). See O.C.G.A. § 51-1-6; Pulte Home v. Simerly, 746 S.E.2d 173, 179 (Ga.

App. 2013).

      D.      The allegations of the Second Amended Complaint preclude a
              finding of no proximate cause as a matter of law.

      As set out in response to the Carpet Manufacturing Defendants, (Doc. 392,

at 17-23), the Second Amended Complaint (“SAC”)’s allegations demonstrate that

contamination of Plaintiff’s water supply, and the resulting injuries, “could have

reasonably been anticipated, apprehended, or foreseen” by IMACC, which

discharged PFAS while knowing they were persistent, could not be removed by

Dalton Utilities, and were contaminating surface waters and the Upper Coosa

River Basin. (Doc. 282, ¶¶ 52, 66, 78, 86-102); Ontario Sewing Machine Co., Ltd.

v. Smith, 572 S.E.2d 533, 535-36 (Ga. 2002). No intervening acts can be the sole

proximate cause because the SAC establishes that they were “foreseeable by

[IMACC]” and were “triggered by [IMACC]’s act[s]. . . .” Id.; see also Ex parte

Aladdin Mfg. Corp., 2019 WL 6974629, at *15 (Ala. Dec. 20, 2019).

      E.      Plaintiff states an actionable claim for public nuisance.

      As set out in response to the Carpet Manufacturing Defendants, (Doc. 392,

at 30-39), Plaintiff states actionable claims for public nuisance. IMACC had
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requisite control over the PFAS it discharged with knowledge that they could not

be removed by Dalton Utilities and were reaching the Rome domestic water

supply. See Fielder v. Rice Constr. Co., Inc., 522 S.E.2d 13, 16 (Ga. App. 1999);

Citizens & S. Trust Co. v. Phillips Petroleum Co., Inc., 385 S.E.2d 426, 428-29

(Ga. App. 1989). In this way, IMACC was a “cause or concurrent cause of the

creation, continuance, or maintenance of the nuisance.” Fielder, 522 S.E.2d at 16.

      IMACC’s permits with Dalton Utilities are no defense to nuisance in fact,

see O.C.G.A. § 41-1-1; Galaxy Carpet Mills v. Massengill, 338 S.E.2d 428, 429

(Ga. 1986), and any contention that IMACC complied with applicable laws is an

unsupported and improper factual contention contrary to the allegations of the

SAC. See, e.g., Amin v. Mercedes-Benz USA, LLC, 349 F. Supp. 3d 1338, 1346

(N.D. Ga. 2018); (Doc. 282, ¶¶ 155-159).

      Plaintiff and the proposed class have further alleged sufficient “special

harm” because their surcharges for filtration of Defendants’ PFAS is different in

kind from the general public that drinks or otherwise comes into contact with

PFAS released and discharged into the Conasauga, Oostanaula, and Coosa Rivers.

See O.C.G.A. § 41-1-2; West Morgan-East Lawrence Water and Sewer Auth. v.

3M Company, 208 F. Supp. 1227, 1234 (N.D. Ala. 2016); (Doc. 282, ¶¶ 171-175).

In any event, Plaintiff’s special harm arises from damage to his property and,

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therefore, is “not lost in the general and public nuisance” and “is special damage

within the meaning of the Code” under Georgia law. Savannah, F. & W. Ry. Co. v.

Parish, 45 S.E. 280 (Ga. 1903).

      F.      The allegations of the Second Amended Complaint and Georgia
              law support an award of punitive damages, attorneys’ fees, and
              expenses.

      As set out in response to the Carpet Manufacturing Defendants, (Doc. 392,

at 39-40), the SAC also pleads facts that support an award of punitive damages,

attorneys’ fees, and expenses—that IMACC knowingly caused and maintained a

public nuisance in contaminating the water supply, also in violation of common

law duties and numerous, specific statutes and regulations. (See Doc. 282, ¶¶ 66,

78-80, 86-88, 161-168). If Plaintiff proves that IMACC willfully discharged PFAS

despite knowing that it was contaminating the public waters and the drinking water

for thousands, he will be entitled to attorneys’ fees and punitive damages under

Georgia law. See O.C.G.A. § 51-12-5.1(b); In re Equifax, Inc. Customer Data

Security Breach Litig., 362 F. Supp. 3d 1295, 1345 (N.D. Ga. 2019).

                                  CONCLUSION

      For the same reasons fully set out in response to the Carpet Manufacturing

Defendants’ motion to dismiss in which IMACC joins, their motion should be

denied.

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                                  /s/ Brett C. Thompson
                                  Brett C. Thompson, Esq. (phv)
                                  Hirlye R. “Ryan” Lutz, III, Esq. (phv)
                                  F. Jerome Tapley, Esq. (phv)
                                  CORY WATSON, P.C.
                                  2131 Magnolia Avenue South
                                  Birmingham, Alabama 35205
                                  bthompson@corywatson.com
                                  rlutz@corywatson.com
                                  jtapley@corywatson.com
                                  Telephone: (800) 852-6299
                                  Fax: (205) 324-7896

                                  James S. Whitlock (phv)
                                  Gary A. Davis (phv)
                                  Davis & Whitlock, P.C.
                                  Attorneys at Law
                                  21 Battery Park Avenue, Suite 206
                                  Asheville, NC 28801
                                  Telephone: (828) 622-0044
                                  Fax: 828-398-0435
                                  jwhitlock@enviroattorney.com
                                  gadavis@enviroattorney.com

                                  Ryals D. Stone (GA Bar No. 831761)
                                  William S. Stone (GA Bar No.
                                  684636)
                                  THE STONE LAW GROUP –TRIAL
                                  LAWYERS, LLC
                                  5229 Roswell Road NE
                                  Atlanta, Georgia 30342
                                  Telephone: (404) 239-0305
                                  Fax: (404) 445-8003
                                  ryals@stonelaw.com
                                  billstone@stonelaw.com

                                  Attorneys for Plaintiff

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                      CERTIFICATE OF COMPLIANCE

      Pursuant to Norther District of Georgia Civil Local Rule 7.1.D., the

undersigned counsel certifies that the foregoing filing is prepared in Times New

Roman 14 point font, as mandated in Local Rule 5.1.C.


      This the 11th day of December, 2020.


                                             /s/ Brett C. Thompson




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                          CERTIFICATE OF SERVICE

      I certify that a copy of the foregoing PLAINTIFF’S RESPONSE TO

DEFENDANT IMACC CORPORATION’S JOINDER IN THE CARPET

MANUFACTURING DEFENDANTS’ MOTION TO DISMISS PLAINTIFF’S

SECOND AMENDED COMPLAINT has been filed electronically with the Clerk

of Court by using the CM/ECF system which will automatically email all counsel of

record.


This the 11th day of December, 2020.

                                       /s/ Brett C. Thompson




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